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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

*****************************
MARTIN J. WALSH, SECRETARY OF LABOR *
United States Department of Labor,             *
                                   Plaintiff,  *
                                               *           CIVIL ACTION 3:18-cv-00711-AWT
       v.                                      *
                                               *
CARE AT HOME, LLC, DANIEL KARP, and            *
SUZANNE KARP,                                  *
                                   Defendants. *
*****************************

                JOINT MOTION TO APPROVE CONSENT JUDGMENT AND ORDER

        Plaintiff Martin J. Walsh, Secretary of Labor, United States Department of Labor, and

Defendants Care at Home, LLC, Daniel Karp, and Suzanne Karp hereby jointly move the Court

to approve the proposed Consent Judgment and Order attached hereto as Exhibit A.

        The parties view the attached Consent Judgment and Order as a global resolution of all of

the issues in this case except the accrued daily fines imposed by the Court for the civil contempt

of Defendants Care at Home, LLC and Daniel Karp (ECF No. 149). More specifically, the

parties view the attached Consent Judgment and Order as a full resolution of: (1) Defendants’

obligations under the order awarding attorney’s fees to the Secretary (ECF No. 121); (2) the

summary judgment order awarding back pay and liquidated damages to employees on the

Secretary’s 2015 overtime claim (ECF No. 124); and (3) the remainder of the Secretary’s claims

in this case.

        With Defendants’ execution of the attached Consent Judgment and Order, the Secretary’s

view is that Defendants have purged themselves of their contempt with respect to the Court’s

orders on attorney’s fees and summary judgment, as the parties have agreed to resolve

Defendants’ obligations under those orders as set forth in the attached Consent Judgment and

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Order. Accordingly, the parties respectfully request that the Court approve the attached Consent

Judgment and Order, Exhibit A, as written.

         In view of the foregoing, the parties do not believe that the hearing scheduled for

September 17, 2021 is necessary.

    FOR DEFENDANTS CARE AT HOME,                         FOR PLAINTIFF:
    LLC, DANIEL KARP, AND SUZANNE
    KARP:
                                                         Seema Nanda
    ________________________________                     Solicitor of Labor
    Vincent Avery, Esquire1
    FordHarrison, LLP                                    Maia S. Fisher
    366 Madison Avenue, 7th Floor                        Regional Solicitor
    New York, NY 10017
    Direct Dial: 212-453-5935                            Mark A. Pedulla
    Mobile: 609-947-0451                                 Counsel for Wage & Hour
    VAvery@fordharrison.com
                                                         /s/Theresa Schneider Fromm

    Dated: September 16, 2021                            Theresa Schneider Fromm
                                                         Senior Trial Attorney (PHV07689)
                                                         fromm.theresa@dol.gov

                                                         U.S. Department of Labor
                                                         Attorneys for Plaintiff
                                                         Post Office Address:
                                                         JFK Federal Building—Room E-375
                                                         Boston, Massachusetts 02203
                                                         TEL: (617) 565-2500
                                                         FAX: (617) 565-2142

                                                         Dated: September 16, 2021




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  In accordance with Section XI.D of the Electronic Filing Policies and Procedures for the
United States District Court for the District of Connecticut, attorney Vincent Avery hereby
gives consent to attorney Theresa Schneider Fromm to electronically file this document with
attorney Avery’s electronic signature.
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                               CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing JOINT MOTION TO APPROVE CONSENT

JUDGMENT AND ORDER was served electronically on September 16, 2021 on the following

party:

                                      Vincent Avery
                                    FordHarrison, LLP
                               366 Madison Avenue, 7th Floor
                                   New York, NY 10017
                                 VAvery@fordharrison.com


                                                    /s/ Theresa Schneider Fromm
                                                     Theresa Schneider Fromm




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